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                               UNITED STATES DISTRICT COURT
 6                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   KATHERINE WRIGHT,
                                                            CASE NO. 2:24-cv-01532-RSL
 9                          Plaintiff,
10
                    v.

11   KELLY SERVICES, INC., et al.,                          ORDER GRANTING STIPULATED
                                                            MOTION FOR STAY OF
12                          Defendants.                     PROCEEDINGS

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14          This matter comes before the Court on the “Joint Stipulated Motion and [Proposed]
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     Order to Stay Proceedings” submitted in the above-captioned matter. Dkt. # 24. Having
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     reviewed the record and the stipulation of the parties, the Court finds that a stay will

18   promote judicial efficiency and preserve the resources of the litigants without unduly
19   prejudicing either party’s interests. 5A Charles Alan Wright & Arthur R. Miller, Federal
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     Practice and Procedure § 1360 (3d ed. 2004). See also Landis v. N. Am. Co., 299 U.S.
21
     248, 254 (1936) (“the power to stay proceedings is incidental to the power inherent in
22

23   every court to control the disposition of the causes on its docket with economy of time and
24   effort for itself, for counsel, and for litigants”).
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     ORDER GRANTING STIPULATED MOTION FOR STAY
     OF PROCEEDINGS - 1
            Case 2:24-cv-01532-RSL         Document 25       Filed 12/09/24     Page 2 of 2



 1          This matter is hereby STAYED in its entirety, pending the Washington Supreme
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     Court’s resolution of the question certified in Branson v. Wash. Fine Wine & Spirits, LLC,
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     No. 2:24-cv-00589-JHC (W.D. Wash. Aug. 20, 2024). The Clerk of Court is directed to
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 5   enter a statistical termination in this case. Such termination is entered solely for the

 6   purpose of removing this case from the Court’s active calendar. The parties shall, within
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     thirty days of the Supreme Court’s decision, submit a Joint Status Report setting forth the
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     parties’ recommendations for a new trial date or, in the alternative, an anticipated schedule
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10   for achieving settlement.

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13          Dated this 9th day of December, 2024.
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15                                               Robert S. Lasnik
16                                               United States District Judge

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     ORDER GRANTING STIPULATED MOTION FOR STAY
     OF PROCEEDINGS - 2
